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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


 UNITED STATES OF AMERICA

 vs.                                          CASE NO: 8:11-cr-323-T-EAK-TBM

 ROBERT MICHAEL CLAWSON
 ______________________________/


 Order Granting Defendant’s Unopposed Motion for Prison-Term Reduction Under
               18 U.S.C. § 3582(c)(2) Based on USSG Amend. 782

        Before the Court is the defendant’s motion to reduce his prison term under 18 U.S.C.

 § 3582(c)(2) based on USSG Amend. 782, a retroactive guideline amendment, see USSG

 §1B1.10(d) (2014). Doc . 715. Additionally, the defendant’s appointed counsel has filed a

 motion to reduce the sentence in which he argues that the Court should reduce the sentence

 to 92 month. Doc. 793. The United States does not oppose a reduction but does oppose the

 calculation of the reduction as suggested by the defendant. Doc. 806. The parties stipulate

 that he is eligible for a reduction because Amendment 782 reduces the guideline range

 applicable to him, see USSG §1B1.10(a)(1). The Court agrees that he is eligible for a

 reduction and adopts the amended guideline calculations in the response of the government

 and the calculations of the February 12, 2015 memorandum from the United States Probation

 Office in light of the factors in 18 U.S.C. § 3553(a) and the need to consider the nature and

 seriousness of any danger posed by a reduction, see USSG §1B1.10, comment. (n.1(B)(ii)),

 The Court finds that a reduction of 15 months is warranted. Consistent with USSG

 §1B1.10(e)(1), and in light of the practical difficulties of a possible release date on Sunday,

 November 1, 2015, the effective date of this order is November 2, 2015.

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      Thus:

      1.      The Court grants the defendant’s motions in part but accepts the government’s

              calculation of the reduction, Docs. 715 and 793.

      2.      The Court reduces the defendant’s prison term from 110 to 95 months or

              time served, whichever is greater.

      3.      The effective date of this order is November 2, 2015.

      DONE and ORDERED in Chambers, Tampa, Florida on August 4, 2015.




      Copies to:

      Counsel of Record
      Magistrate Judge
      United States Marshals Service
      United States Probation Office
      United States Pretrial Services




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